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June 20, 2018
Hon. Frank P. Geraci, Jr.
United States District Judge
United States Courthouse
100 State Street
Rochester, New York 14614
Re: Holley v. Millhouse Familv Restaurant, Inc.
Lal., Case No. l7- cv- 6194 (FPG)(MWP)
(W.D.N.Y.)

Dear Chief Judge Geraci:

I represent the plaintiff in this matter, and I am writing to you on behalf of myself and
defendants’ counsel, Jeffery Calabrese. The parties have recently reached an amicable
settlement of plaintiff’ s claims against defendants, which include overtime claims, brought under
the Fair Labor Standards Act (FLSA), 29 U.S.C.; §201, et W. Pursuant to Cheeks V Freeport
Pancake House Inc., 796 F.3d 199 (2d Cir. 2015), cert. denied, 136 S.Ct. 824 (2016), voluntary
FLSA settlements must now be approved by the district court, and I have attached a copy of the
proposed FLSA settlement agreement to this letter.

 

 

To effect this settlement, I respectfully request the court review this proposed agreement,
and if acceptable, issue an order approving the settlement agreement Once the agreement has
been approved by the court and signed by the parties, we will submit a signed copy to the court
along with an accompanying Stipulation and proposed Order of Dismissal pursuant to Rule 41
(a)(l)(A)(ii) of the Federal Rules of Civil Procedure.

The plaintiff, Tavare Holley, alleged in the complaint that he worked for defendants as a
dishwasher in their restaurant. He disputed the accuracy of defendants’ timekeeping records and
claimed he was owed federal overtime wages for his work under the Fair Labor Standards Act,
29 U.S.C. §207. Mr. Holley claims that after he complained about the amount of his wages, he
was terminated by defendants. l\/Ir. Holley brought this action to recover his unpaid overtime
wages and liquidated damages for violations of the FLSA, 29 U.S.C. §§ 201, e_t Yq., as well as
for alleged violations of the New York State Labor Law, N.Y. Labor Law §§ 190, e_t _sg., and
N.Y. Labor Law § 215 (“NYLL”), as well as alleged statutory damages for violations of the
Internal Revenue Code (“IRC”), 26 U.S.C. § 7434. Defendants strongly denied all of plaintiffs
allegations

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The parties engaged in mediation settlement negotiations in October 2017 before
proceeding with discovery, but were unsuccessful at reaching a settlement In April 2018, as part
of a scheduled status conference, Judge Payson assisted the parties in reaching an agreement on
a monetary settlement The parties then engaged in settlement negotiations concerning the
terms of settlement, which ultimately resulted in the attached proposed Mutual Settlement and
Release Agreement.

Settlement of Plaintiffs FLSA Claims Against Defendants

With respect to plaintiff s FLSA claims, and based on the records available to plaintiffs
counsel, We estimated that Plaintiff Tavare Holley is owed a total of $2562.58 in unpaid
overtime Wages. The parties engaged in arms-length settlement negotiations With the assistance
of Judge Payson. The plaintiff is primarily interested in a monetary settlement which would
allow him to quickly receive what he believes is the amount of unpaid wages owed to him. The
prompt single lump sum payment of wages is far preferable to continued discovery and
litigation. From the defendants’ perspective, whether plaintiff is entitled to unpaid wages
amounting to this sum, or any damages is strongly contestedl The costs of continuing to litigate
this case were also factors resulting in settlement

Under the settlement terms, Plaintiff Holley will receive a total $2562.58 in unpaid
overtime wages and a separate check totaling $4437.32 constituting damages. The damages
payment includes FLSA liquidated damages, totaling $2562.58, and $874.74 in payment for
plaintiffs remaining claims brought under state labor law and federal tax law. This settlement
permits the plaintiff to receive the total amount of wages owed to him (as calculated by
plaintiffs’ counsel) as well as 100% liquidated damages for his individual FLSA wage claims.
The proposed Settlement Agreement contains narrowly tailored mutual release provisions, and
does not contain any confidentiality or Waiver provisions, or restrictions on employment, and
permits any party to make “any truthful statements related to or concerning the action.” See
Snead v. Interim Healthcare, 286 F.Supp.3d 546 (W.D.N.Y. 2018).

Attorney’s Fees

The Empire Justice Center will receive $4000 in attorney’s fees from defendants for the
work expended by plaintiff s counsel in the prosecution of plaintiff s FLSA claims, as well as all
other claims. We believe this is a reasonable sum for the amount of time spent drafting the
complaint; calculating the amount of wages owed by defendants; preparing the documents and
memoranda for the mediator; engaging in negotiations and mediation with the mediator and
defendants; locating, retaining, and engaging a forensic accountant to assist us in planning and
drafting discovery, contesting the accuracy of defendant’s time records, and possible testimony
at trial; drafting discovery and submitting document requests to defendants ; review of
defendants’ responses to this discovery, research and follow-up to defendant’s objections; our
renewed settlement negotiations and meetings with the court; drafting and negotiating the
attached Mutual Settlement and Release Agreements; and preparing this motion. The Empire
Justice Center represents low income clients without cost As a result, none of the plaintiffs
settlement will be later paid by Mr. Holley to the Empire Justice Center.

 

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l believe this case is an example of a small FLSA settlement where there is no rationale
or financial sense “for proceeding with litigation ...if the district court rejects the proposed
settlement.” Cheeks v Freeport Pancake House, Inc., 796 F3d at 207 citing, Picerni v Bilingual
Seit & Preschool Inc., 925 F. Supp. 2d 368, 377 (E.D.N.Y. 2013). With the assistance of the
court, the parties have negotiated an arm’s length agreement which will require the defendants to
pay the plaintiff the amount of wages owed to him, as well as the total amount of liquidated
damages that plaintiff might have recovered if he were entirely successful after discovery and

trial.

For these reasons, I respectfully request the court approve the Settlement Agreement in
this case. Please contact me should the court desire additional records concerning any aspect of

this proposed settlement

Thank you for your consideration

Sincerely,

Peter O’Brian Dellinger
Attorney at Law

Enclosures

cc: Jeffery Calabrese, Esq.
(Via Federal Electronic Case Filing System)

 

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EXhibit A

 

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MUTUAL SETTLEMENT AND RELEASE AGREEMENT

THIS AGREEMENT (“Agreement”) is made and entered into this __ day of June,
2018, by and between TAVARE HOLLEY (“Holley”), on the one hand, and MILLHOUSE
FAMILY RESTAURANT, INC. (“Millhouse”), CHRIS STATHOPOULOS, and
CARMELLA STATHOPOULOS, on the other hand. Holley, Millhouse, Chris Stathopoulos,
and Carmella Stathopoulos are each individually referred to herein as a “Party” and collectively
as the “Parties.” l

WHEREAS, Millhouse employed Holley in parts of 2015 and 2016; and

WHEREAS, Holley commenced an action in the United States District Court for the
Western District of New York, captioned as Tavare Holley v. Millhouse F amin Restaurant,
Inc., Chris Stathopoulos, in his individual capacity, and Carmella Stathopoulos, in her
individual capacity, Civil Action No: 17-cv-06l94 (W.D.N.Y.) (“Action”), alleging, among
other things, that Millhouse, and Chris and Carmella Stathopoulos, as Millhouse’s owners,
officers, or managers, failed to pay him overtime wages in violation of the F air Labor Standards
Act (“FLSA”) and New York Labor Law (“NYLL”) and terminated Holley’s employment when
he complained that he was not paid overtime; and

WHEREAS, Millhouse, Chris Stathopoulos, and Carmella Stathopoulos deny Holley’s
allegations that they failed to pay him overtime wages and deny that they terminated Holley’s
employment; and

WHEREAS, without any admission of liability or wrongdoing whatsoever and solely to
avoid further litigation expense, the Parties wish to resolve and settle any and all disputes and
controversies between them including, but not limited to, all issues relating to the Action and the
employment of Holley by Millhouse.

NOW, THEREFORE, for good and valuable consideration, the Parties agree as follows:
1. MONETARY.

a. Millhouse shall pay the total sum of Eleven Thousand Dollars
($11,000.00), representing settlement of all of Holley’s claims, whether included in the
Complaint or otherwise, payable as follows:

i. A certified check made payable to “Tavare Holley” in the amount
of Four Thousand Four Hundred Thirty-Seven Dollars and Thirty-Two Cents
($4,437.32), representing settlement of Holley’s claims for compensatory
damages, liquidated damages, punitive damages and/or any other alleged damages
other than damages for unpaid wages. Millhouse will issue Holley a Form 1099
for this payment

ii A certified check made payable to “Tavare Holley” in the amount
of Two Thousand One Hundred Ninety-One Dollars and Seventeen Cents

 

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($2,191.17), less applicable deductions and withholdings, representing settlement
of Holley’s claims for lost/unpaid wages (including overtime payments).
Millhouse will report this payment to the IRS on a Form W-2.

iii. A return to Holley of Check No. 015519 dated July 18, 2017, now
certified in the net amount of Two Hundred Twenty-Two Dollars and Seventy-
Seven Cents ($222.77), Which is the net payment after applicable deductions and
withholdings from a gross payment of Three Hundred Seventy-One Dollars and
Fifty-One Cents ($371.51), representing further payment in settlement of Holley’s
claims for lost/unpaid wages (including overtime payments).

iv. A certified check made payable to “Empire Justice Center, as
Attorney for Tavare Holley,” in the amount of Four Thousand Dollars ($4,000),
representing settlement of Holley’s claims for attorneys’ fees. Millhouse will
report this payment to IRS and issue a Form 1099 to Empire Justice Center and
Holley for this payment

b. Millhouse makes no representations to Holley or his attorney regarding the
taxability or tax implications of this settlement Holley is solely responsible for any tax
consequences associated with this settlement or the amounts paid pursuant to this
Agreement. Empire Justice Center, as attorney, is responsible for any tax consequences
associated with the payment it receives under this Agreement.

c. The Parties agree that the amounts listed are in settlement of the
allegations made by Holley against Millhouse, Chris Stathopoulos, and Carmella
Stathopoulos. Holley and his attorneys agree that said amounts are inclusive of any and
all claims for attorney’s fees and costs.

d. Holley and Millhouse agree that the settlement is a fair and reasonable
resolution of a bona fide dispute over FLSA provisions The Parties agree that any party
is allowed to make any truthful statements related to or concerning the Action.

2. MUTUAL RELEASES.

a. Holley, for himself and his heirs, executors, successors and assigns, in
consideration of the sums and benefits described in Section 1 of this Agreement, and
other good and valuable consideration, including the waiver and release described in
subsection (b) below, does hereby forever discharge and release Millhouse; Millhouse’s
agents, officers, shareholders, directors, employees, parents, subsidiaries, members,
affiliates, predecessors, successors and assigns; Chris Stathopoulos and his heirs,
executors and assigns; and Carmella Stathopoulos and her heirs, executors and assigns
(all of the foregoing are collectively referred to as the “Millhouse Released Parties”),
from any and all actions, causes of action, suits, debts, dues, sums of money, accounts,
reckonings, bills, bonds, specialties, contracts, covenants, controversies, agreements,
promises, variances, trespasses, judgments, damages, executions, claims and demands
under common, equitable, federal, state or local law, that he now has, or which any

 

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person or entity may have on his behalf, whether asserted or which may have been
asserted, on account of, arising out of, or related to his employment at Millhouse Family
Restaurant or the facts which gave rise to the Action, from the date he commenced his
employment in 2015 until the date he signs this Agreement, including but not limited to
any and all claims for discrimination or retaliation of any kind.

b. Millhouse, Chris Stathopoulos, and Carmella Stathopoulos, for themselves
and their heirs, executors, successors and assigns, in consideration of the release
described in subsection (a), above and other good and valuable consideration, do hereby
forever discharge and release Holley, and his heirs, executors, and assigns, from any and
all actions, causes of action, suits, debts, dues, sums of money, accounts, reckonings,
bills, bonds, specialties, contracts, covenants, controversies, agreements, promises,
variances, trespasses, judgments, damages, executions, claims and demands under
common, equitable, federal, state or local law, that they now have, or which any person
or entity may have on their behalf, whether asserted or which may have been asserted, on
account of, arising out of, or related to Holley’s employment at Millhouse Family
Restaurant or the facts which gave rise to the Action, from the date he commenced his
employment in 2015 until the date they sign this Agreement.

c. Nothing in this release shall be construed to constitute a waiver of (i) any
claims the Parties may have against each other that arise from acts or omissions that
occur after the date that they each sign this Agreement, or (ii) any claims that they cannot
waive as a matter of law. In addition, this release does not affect any party’s rights as
expressly created by this Agreement and does not limit his, her or their ability to enforce
this Agreement.

d. The parties agree that the releases may be enforced in any court, federal,
state or local, and before any administrative agency or body, federal, state or local.

3. Attorney Consultation. The attorneys for the parties hereby advise their clients to

consult with an attorney of their choosing concerning all of the terms of this Agreement prior to
executing this Agreement. By execution of this Agreement, each party represents and warrants
that he, she or it has had the opportunity to consult with an attorney of his choosing concerning
all of the terms of this Agreement.

4. Court Approval of Settlement and Agreement. The Parties expressly

acknowledge that because the asserted claims include claims under the FLSA, judicial approval
is required to make this Agreement effective Accordingly, Holley and Millhouse agree to the
following procedure to obtain judicial approval:

a. Once the terms have been mutually agreed upon, Plaintiffs counsel shall
submit this proposed Agreement to the Court as part of a joint motion requesting
approval of the Agreement on behalf of the Parties.

 

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b. If the Court approves this proposed Agreement, Millhouse shall make the
payments required by Section l of this Agreement within five (5) business days after this
Agreement is signed by the Parties by delivering certified checks to Plaintiffs»counsel.

c. Following receipt of the settlement checks and the Agreement signed by
the Defendants, all of which shall be held in escrow by Plaintiffs counsel, a signed copy
of the Agreement signed by the Plaintiff accompanied by a Stipulation and Proposed
Order dismissing the Action with prejudice shall be promptly filed with the Court

d. Upon the Court’s entry of the Order dismissing the Action with prejudice,
Plaintiff s counsel shall release from escrow the settlement checks and the Agreement as
signed by Defendants

5. The Parties acknowledge and agree that the payment obligations under Section l
are expressly contingent upon obtaining judicial approval of this settlement as outlined above or,
failing that, such other judicial approval made possible by the Court’s procedures If the parties
are unable to obtain judicial approval of this settlement and Agreement the settlement and
Agreement are null and void. The parties shall use their best efforts to promptly effect Court
approval of this Agreement.

6. Non-Admission of Liabilitv. Nothing contained in this Agreement, or in any
document that may be executed in connection herewith, is intended to be or shall be deemed,
construed, or treated in any respect as an admission of any fault, wrongdoing, or liability on the
part of the Millhouse Released Parties. In fact, the Millhouse Released Parties deny that they are
legally responsible or legally obligated for any claims or that they have engaged in any
wrongdoing

7. Voluntary Agreement The parties each represent and warrant that he, she or they
have carefully read each and every provision of this Agreement and that they fully understand all
of the terms and conditions of this Agreement. Each party represents and warrants that each
enters into this Agreement voluntarily, of free will, without any pressure or coercion from any
person or entity.

8. Failure to Enf`orce. Any failure of the Parties at any time or times to enforce their
respective rights under any provision of this Agreement shall not be construed to be a waiver of
such provision or the right of a party to enforce such provision.

9. Original Agreement. This Agreement may be executed in multiple originals, each
of which shall be considered as an original instrument but all of which shall constitute one
agreement A photocopy or facsimile of the original documents will have the same force and
effect as the original.

HOLLEY, MILLHOUSE, CHRIS STATHOPOULOS, AND CARMELLA
STATHOPOULOS HEREBY EXPRESSLY WARRANT AND REPRESENTS THAT,
BEFORE ENTERING INTO THIS AGREEMENT, THEY EACH HAVE RECEIVED A
REASONABLE PERIOD OF TIME WITHIN WHICH TO CONSIDER ALL OF THE

 

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PROVISIONS CONTAINED IN THIS AGREEMENT, THAT THEY EACH HAVE
FULLY READ, INFORMED HIMSELF OR HERSELF OF AND UNDERSTAND ALL
THE TERMS, CONTENTS, CONDITIONS, AND EFFECTS OF ALL PROVISIONS OF
THIS AGREEMENT, AND THAT THEY EACH CONSIDER ALL SUCH PROVISIONS

TO BE SATISFACTORY.

HOLLEY, MILLHOUSE, CHRIS STATHOPOULOS, AND CARMELLA
STATHOPOULOS FURTHER EXPRESSLY WARRANT AND REPRESENT THAT NO
PROMISE OR REPRESENTATION OF ANY KIND HAS BEEN MADE, EXCEPT
THOSE EXPRESSLY STATED IN THIS AGREEMENT.

HOLLEY, MILLHOUSE, CHRIS STATHOPOULOS, AND CARMELLA
STATHOPOULOS FURTHER EXPRESSLY WARRANT AND REPRESENT THAT
THEY EACH ENTER INTO THIS AGREEMENT KNOWINGLY AND
VOLUNTARILY.

 

 

 

AGREED TO BY:
DATED:
TAVARE HOLLEY
MILLHOUSE FAMILY RESTAURANT,
INC.
DATED: Byr
Name:
Title:
DATED:
CHRIS STATHOPOULOS
DATED:

 

CARMELLA STATHOPOULOS

[acknowledgment page follows]

 

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State of New York)
County of Monroe) ss.:
On the day of in the year 2018, before me, the undersigned, personally

appeared Tavare Holley, personally known to me or proved to me on the basis of satisfactory
evidence to be the individual whose name is subscribed to the within instrument and
acknowledged to me that he executed the same.

 

 

Notary Public
State of New York)
County of Monroe) ss.:

On the day of in the year 2018, before me, the undersigned, personally
appeared , personally known to me or proved to me on the basis of
satisfactory evidence to be the individual whose name is subscribed to the within instrument and
acknowledged to me that he/ she executed the same in his/her capacity as of

Millhouse Family Restaurant, Inc. and that by his/her signature on the instrument Millhouse
Family Restaurant, Inc. executed the instrument

 

Notary Public
State of New York)
County of Monroe) ss.:
On the day of in the year 201_, before me, the undersigned, personally

appeared Chris Stathopoulos, personally known to me or proved to me on the basis of
satisfactory evidence to be the individual whose name is subscribed to the within instrument and
acknowledged to me that he executed the same.

 

Notary Public
State of New York)
County of Monroe) ss.:
On the day of in the year 201_, before me, the undersigned, personally

appeared Carmella Stathopoulos, personally known to me or proved to me on the basis of
satisfactory evidence to be the individual whose name is subscribed to the within instrument and
acknowledged to me that she executed the same.

 

Notary Public

 

 

